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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

ELIZABETH NELSON, et. al.,

      Plaintiffs,                                 Case No. 22-cv-10918
                                                  Hon. Matthew F. Leitman
v.

SERVICE TOWING INC., et al.,

     Defendants.
__________________________________________________________________/

                                     JUDGMENT

      In accordance with the Order entered on this day and on February 13, 2023,

      IT IS ORDERED AND ADJUDGED that Judgment is entered in favor of

Defendants and against Plaintiffs.

                                             KINIKIA ESSIX
                                             CLERK OF COURT

                                       By:   s/Holly A. Ryan
                                             Deputy Clerk
Approved:

s/Matthew F. Leitman
MATTHEW F. LEITMAN
United States District Judge

Dated: February 26, 2024
Detroit, Michigan




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